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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION


 UNITED STATES OF AMERICA                         §

 Vs.                                              §           CRIM. ACTION NO. 6:13CR2(7)

 JEFFREY RAINEY, aka “Pee Wee                    §



               ORDER ADOPTING THE REPORT AND RECOMMENDATION
                   OF THE UNITED STATES MAGISTRATE JUDGE


         The above-styled matter was referred to the Honorable K. Nicole Mitchell, United States

 Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of

 Criminal Procedure. Judge Mitchell conducted a hearing in the form and manner prescribed by

 Federal Rule of Criminal Procedure 11 and issued her Report and Recommendation. Judge

 Mitchell recommended that the Court accept Defendant’s guilty plea and conditionally approve

 the plea agreement. She further recommended that the Court finally adjudge Defendant as guilty

 of a lesser included charge in Count 1 of the Indictment filed against Defendant in this cause.

         In open court at the plea hearing on September 10, 2013, the parties waived their right to

 object to the magistrate judge’s findings. The Court is of the opinion that the Report and

 Recommendation should be accepted. It is accordingly

         ORDERED that the Report and Recommendation of the United States Magistrate Judge

 is ADOPTED. It is further

         ORDERED that Defendant’s guilty plea is accepted and approved by the Court. Further,

 the plea agreement is approved by the Court, conditioned upon a review of the presentence

 report. It is finally


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            ORDERED that, pursuant to Defendant’s plea agreement, the Court finds Defendant

     GUILTY of a lesser included charge of Count 1 of the Indictment in the above-numbered cause

     and enters a JUDGMENT OF GUILTY against the Defendant as to a lesser included charge of

     Count 1 of the Indictment.

            It is SO ORDERED.

     SIGNED this 13th day of September, 2013.




                                                  ____________________________________
                                                  MICHAEL H. SCHNEIDER
                                                  UNITED STATES DISTRICT JUDGE




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